                          Case 23-50529-hlb                Doc 1       Entered 08/01/23 19:37:12                   Page 1 of 32


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                WONDER ALEWORKS LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1041 S. VIRGINIA ST.
                                  Reno, NV 89502
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Washoe                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                          Case 23-50529-hlb                  Doc 1         Entered 08/01/23 19:37:12                       Page 2 of 32
Debtor    WONDER ALEWORKS LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                            Case 23-50529-hlb                      Doc 1        Entered 08/01/23 19:37:12                     Page 3 of 32
Debtor    WONDER ALEWORKS LLC                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                    Case 23-50529-hlb             Doc 1   Entered 08/01/23 19:37:12                  Page 4 of 32
Debtor   WONDER ALEWORKS LLC                                                     Case number (if known)
         Name

                          $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                          $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                          $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                         Case 23-50529-hlb                 Doc 1        Entered 08/01/23 19:37:12                      Page 5 of 32
Debtor    WONDER ALEWORKS LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 1, 2023
                                                  MM / DD / YYYY


                             X /s/ NICHOLAS FISCHELLA                                                     NICHOLAS FISCHELLA
                                 Signature of authorized representative of debtor                         Printed name

                                         FOR NICK FISCHELLA LLC, MANAGING
                                 Title   MEMBER OF DEBTOR




18. Signature of attorney    X /s/ KEVIN A DARBY                                                           Date August 1, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 KEVIN A DARBY 7670
                                 Printed name

                                 DARBY LAW PRACTICE
                                 Firm name

                                 499 W. PLUMB LANE, SUITE 202
                                 Reno, NV 89509
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     775.322.1237                  Email address      kevin@darbylawpractice.com

                                 7670 NV
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         WONDER ALEWORKS LLC

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 1, 2023                  X /s/ NICHOLAS FISCHELLA
                                                           Signature of individual signing on behalf of debtor

                                                            NICHOLAS FISCHELLA
                                                            Printed name

                                                            FOR NICK FISCHELLA LLC, MANAGING MEMBER OF DEBTOR
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                               Case 23-50529-hlb                                 Doc 1               Entered 08/01/23 19:37:12                                          Page 7 of 32

 Fill in this information to identify the case:

 Debtor name            WONDER ALEWORKS LLC

 United States Bankruptcy Court for the:                       DISTRICT OF NEVADA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            32,850.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            32,850.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            17,500.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            13,900.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $               31,400.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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                        Case 23-50529-hlb                Doc 1      Entered 08/01/23 19:37:12                       Page 8 of 32

Fill in this information to identify the case:

Debtor name         WONDER ALEWORKS LLC

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     US BANK                                           CHECKING                              2965                                       $500.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                        $500.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     SECURITY DEPOSIT WITH DARK HORSE INVESTMENTS LLC                                                                                $15,000.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                                     $15,000.00
          Add lines 7 through 8. Copy the total to line 81.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor       WONDER ALEWORKS LLC                                                     Case number (If known)
             Name



Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of        Valuation method used    Current value of
                                            physical inventory       debtor's interest        for current value        debtor's interest
                                                                     (Where available)

19.       Raw materials
          GRAIN & HOPS FOR
          BREWING                           7/28/2023                              $0.00                                            $100.00



20.       Work in progress

21.       Finished goods, including goods held for resale
          BEER- KEGGED BEER                                                        $0.00                                          $5,000.00


          LIQUOR
          BOTTLES-WINES                                                            $0.00                                          $1,000.00



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                     $6,100.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                         Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 2
                      Case 23-50529-hlb                 Doc 1         Entered 08/01/23 19:37:12                 Page 10 of 32

Debtor        WONDER ALEWORKS LLC                                                            Case number (If known)
              Name


      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used   Current value of
                                                                          debtor's interest          for current value       debtor's interest
                                                                          (Where available)

39.        Office furniture
           CHAIRS AND RACKS                                                                $0.00                                          $250.00



40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software
           CANON PRINTER, MONEY AND CHANGE
           COUNTER                                                                         $0.00                                        $1,000.00


           SEE ATTACHED                                                                    $0.00     Liquidation                       $10,000.00



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                           $11,250.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 3
                     Case 23-50529-hlb                 Doc 1        Entered 08/01/23 19:37:12                 Page 11 of 32

Debtor       WONDER ALEWORKS LLC                                                           Case number (If known)
             Name


      Yes Fill in the information below.


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                          page 4
                           Case 23-50529-hlb                          Doc 1           Entered 08/01/23 19:37:12                              Page 12 of 32

Debtor          WONDER ALEWORKS LLC                                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $500.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $15,000.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                 $6,100.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $11,250.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $32,850.00          + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $32,850.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 5
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Item                                 Purchase Price
3 patio tables & chairs                         600
patio sofa set                                1600
3pc lounge furniture                            750
area rug                                        100
2 ceiling fans                                1000
Sound system                                  1800
Lorex security cameras                        1600
Red Bull mini fridge                            100
Samsung tv at bar 55"                           350
Avantco behind bar fridge                     1800
Toast POS system                              2500
18" stainless steel table @bar                  125
3x Bus tub cart                                 225
36" wire rack @bar front                         49
14 beer tasting trays                           140
6 decorative mirrors - bathroom                 180
Bathroom supply cabinet                         199
Liqour bottles                                1000
Safe                                            500
Monitor for cameras                             150
All in 1 PC                                     699
Canon laser printer                             300
Canon inkjet printer                            200
Coin counter                                    150
Bill counter                                    150
Laminator                                        20
Phone                                            60
Microwave                                        60
Dymo printer                                    100
Microphone - plug in                             60
dymo label printer                              100
14" stainless table kitchen                     100
24" stainless table kitchen                     150
Delfield reach in coller - kitchen              800
Vevor veggie dicer                              100
Soiled dish pit 72"                           4000
Sprayer faucet - dish pit                       250
Assorted dishes                                 500
Assorted silverware                             250
3 wire racks for plates - cambros               500
Prep table w/can opener                         300
Rice cooker                                     100
Galaxy tabletop mixer                           650
Immersion blender                               250
Backyard pro deli slicer                        200
            Case 23-50529-hlb     Doc 1   Entered 08/01/23 19:37:12   Page 14 of 32


Curtain rod @backdoor                    50
5 bags grain                            100
2 bags hops                             200
24 barrels                             1200
Pallet jack                             400
Jimboney grain mill                    5000
Husky air compressor                    400
2 6bay employee locker                  400
Bluebird retractable hose               150
Hyrdometers                             100
Culligan water filtration              1500

purchased price                 $ 34,317.00
                      Case 23-50529-hlb                 Doc 1      Entered 08/01/23 19:37:12                    Page 15 of 32

Fill in this information to identify the case:

Debtor name       WONDER ALEWORKS LLC

United States Bankruptcy Court for the:       DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
                        Case 23-50529-hlb                    Doc 1           Entered 08/01/23 19:37:12                       Page 16 of 32

Fill in this information to identify the case:

Debtor name        WONDER ALEWORKS LLC

United States Bankruptcy Court for the:         DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              Unknown           Unknown
          INTERNAL REVENUE SERVICE                             Check all that apply.
          PO BOX 7346                                             Contingent
          Philadelphia, PA 19101-7317                             Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                             $17,500.00         $17,500.00
          NEVADA DEPARTMENT OF                                 Check all that apply.
          TAXATION                                                Contingent
          1550 COLLEGE PARKWAY, SUITE                             Unliquidated
          115                                                     Disputed
          Carson City, NV 89706-7939
          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 3
                                                                                                               39342
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Debtor       WONDER ALEWORKS LLC                                                                    Case number (if known)
             Name

3.1       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,800.00
          CAPITAL ONE                                                         Contingent
          PO BOX 30281                                                        Unliquidated
          Salt Lake City, UT 84130                                            Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business credit card
          Last 4 digits of account number 5470
                                                                           Is the claim subject to offset?         No     Yes

3.2       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                Unknown
          DARK HORSE INVESTMENTS LLC SERIES 2                                 Contingent
          5421 KIETZKE LANE SUITE 100                                         Unliquidated
          Reno, NV 89511                                                      Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Lease Agreement
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.3       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $750.00
          MORREY DISRTIBUTING CO.                                             Contingent
          1850 E LIONCOLN WAY                                                 Unliquidated
          Sparks, NV 89434                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Vendor debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.4       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,750.00
          US BANK                                                             Contingent
          PO BOX 790408                                                       Unliquidated
          Saint Louis, MO 63179                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Business credit card
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $600.00
          VIN SAUVAGE                                                         Contingent
          712 SPICE ISLANDS DR.                                               Unliquidated
          Sparks, NV 89431                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Vendor debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       NEVADA DEPARTMENT OF TAXATION
          555 E. WASHINGTON AVE. STE. 1300                                                          Line     2.2
          Las Vegas, NV 89101
                                                                                                           Not listed. Explain


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                       17,500.00
5b. Total claims from Part 2                                                                           5b.    +     $                       13,900.00


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 3
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Debtor      WONDER ALEWORKS LLC                                                 Case number (if known)
            Name


5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                           5c.     $                     31,400.00




Official Form 206 E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                               Page 3 of 3
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Fill in this information to identify the case:

Debtor name       WONDER ALEWORKS LLC

United States Bankruptcy Court for the:     DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            COMMERCIAL LEASE
           lease is for and the nature of        AGREEMENT
           the debtor's interest

               State the term remaining

           List the contract number of any                                          DARK HORSE INVESTMENTS LLC SERIES 2
                 government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      WONDER ALEWORKS LLC

United States Bankruptcy Court for the:   DISTRICT OF NEVADA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    NICHOLAS                                                                              DARK HORSE                         D
          FISCHELLA                                                                             INVESTMENTS LLC                    E/F
                                                                                                SERIES 2                           G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         WONDER ALEWORKS LLC

United States Bankruptcy Court for the:    DISTRICT OF NEVADA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                           Gross revenue
      which may be a calendar year                                                    Check all that apply                         (before deductions and
                                                                                                                                   exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                $422,917.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                                $939,502.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                                $284,355.62
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue            Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value          Reasons for payment or transfer
                                                                                                                       Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 1
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Debtor       WONDER ALEWORKS LLC                                                                Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             NEVADA DEPARTMENT OF TAXATION                         7/28/23                          $11,000.00                Secured debt
                                                                                                                              Unsecured loan repayments
                                                                                                                              Suppliers or vendors
                                                                                                                              Services
                                                                                                                              Other Tax



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                  Status of case
             Case number                                                           address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None



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Debtor        WONDER ALEWORKS LLC                                                                 Case number (if known)



              Recipient's name and address             Description of the gifts or contributions                  Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    DARBY LAW PRACTICE
               499 W. PLUMB LANE, SUITE
               202
               Reno, NV 89509                            Attorney Fees                                                                           $10,000.00

               Email or website address
               kevin@darbylawpractice.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value




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Debtor       WONDER ALEWORKS LLC                                                                 Case number (if known)



             Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
             Address                                   payments received or debts paid in exchange                was made                          value
      13.1                                             PORTABLE FESTIVAL TENT WITH
      .                                                CARRYING CASE, JOCKEY BOX AND
                                                       RELATED EQUIPMENT, TAP HANDLES,
                                                       ALL RETAIL ITEMS (STICKERS, SHIRTS,
                                                       T-SHIRTS, GLASSWARE, 3 WONDER
                                                       NEON SIGNS, BALLON STRAWS AND
                                                       MENU HOLDERS, ZAHM-CO2 LEVEL
                                                       TESTER, CROWLER MACHINE,
                                                       COCKTAIL KEGS (5), AND LOGIN
                                                       INFORMATION FOR ALL BUSINESS
                                                       RELATED ACCOUNTS INCLDUING
                                                       GODADDY DOMAIN FOR DEBTOR,
                                                       FACEBOOK, INSTAGRAM, UNTAPPED,
                                                       TIK TOK, YELP, FOURSQUARE,
             JAMES MANOS                               LINKEDIN, TOAST, TRIPADVISOR,
             10404 NOONTIDE AVE.                       THRILLIST, POSTMATES AND
             Las Vegas, NV 89135                       DOORDASH                                                   7/31/2023                      $3,000.00

             Relationship to debtor
             NONE


 Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

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Debtor      WONDER ALEWORKS LLC                                                                  Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

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Debtor      WONDER ALEWORKS LLC                                                                 Case number (if known)



           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        T.O. BOOKKEEPING                                                                                                   5/2022- CURRENT
                    2215 GREEN VISTA DRIVE STE. 303
                    Sparks, NV 89431
      26a.2.        LAS VEGAS CPA PROFESSIONALS                                                                                        9/2021-5/2022
                    7322 S. 6TH STREETS STE. #2000
                    Las Vegas, NV 89101

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        T.O. BOOKKEEPING
                    2215 GREEN VISTA DR. STE. 303
                    Sparks, NV 89431

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
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Debtor      WONDER ALEWORKS LLC                                                                Case number (if known)



    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      NICK FISCHELLA LLC                     10662 SUFFOLK HILLS AVE.                            Managing Member                         52%
                                             Las Vegas, NV 89129

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      NATHANIAL OGDEN                        1 EQUITY WAY                                        Member                                  4%
      TRUST                                  Westlake, OH 44145

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      3QQAWG LLC                             9268 W. MERANTO AVE.                                Member                                  19%
                                             Las Vegas, NV 89129

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      JOEL AND ANNE-MARIE                    905 ARMADA TERRACE                                  Member                                  10%
      RUBAO FAMILY TRUST                     San Diego, CA 92106

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      GAJA ENTERPRISES LLC                   401 RYLAND ST. STE 200A                             Member                                  15%
                                             Reno, NV 89502



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation



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Debtor      WONDER ALEWORKS LLC                                                                 Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         August 1, 2023

/s/ NICHOLAS FISCHELLA                                          NICHOLAS FISCHELLA
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   FOR NICK FISCHELLA LLC, MANAGING
                                     MEMBER OF DEBTOR

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 8
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                                     District of Nevada
 In re       WONDER ALEWORKS LLC                                                                              Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.   $      0.00     of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                   Debtor            Other (specify):

4.   The source of compensation to be paid to me is:

                   Debtor            Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     August 1, 2023                                                           /s/ KEVIN A DARBY
     Date                                                                     KEVIN A DARBY 7670
                                                                              Signature of Attorney
                                                                              DARBY LAW PRACTICE
                                                                              499 W. PLUMB LANE, SUITE 202
                                                                              Reno, NV 89509
                                                                              775.322.1237 Fax: 775.996.7290
                                                                              kevin@darbylawpractice.com
                                                                              Name of law firm
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                                   VERIFICATION OF CREDITOR MATRIX


I, the FOR NICK FISCHELLA LLC, MANAGING MEMBER OF DEBTOR of the corporation named as the debtor in this case,

hereby verify that the attached list of creditors is true and correct to the best of my knowledge.




Date:     August 1, 2023                                /s/ NICHOLAS FISCHELLA
                                                        NICHOLAS FISCHELLA/FOR NICK FISCHELLA LLC, MANAGING
                                                        MEMBER OF DEBTOR
                                                        Signer/Title
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                  WONDER ALEWORKS LLC
                  1041 S. VIRGINIA ST.
                  Reno, NV 89502

                  KEVIN A DARBY
                  DARBY LAW PRACTICE
                  499 W. PLUMB LANE, SUITE 202
                  Reno, NV 89509

                  CAPITAL ONE
                  Acct No xxxx xxxx xxxx 5470
                  PO BOX 30281
                  Salt Lake City, UT 84130

                  DARK HORSE INVESTMENTS LLC SERIES 2
                  5421 KIETZKE LANE SUITE 100
                  Reno, NV 89511

                  DARK HORSE INVESTMENTS LLC SERIES 2


                  INTERNAL REVENUE SERVICE
                  PO BOX 7346
                  Philadelphia, PA 19101-7317

                  MORREY DISRTIBUTING CO.
                  1850 E LIONCOLN WAY
                  Sparks, NV 89434

                  NEVADA DEPARTMENT OF TAXATION
                  1550 COLLEGE PARKWAY, SUITE 115
                  Carson City, NV 89706-7939

                  NEVADA DEPARTMENT OF TAXATION
                  555 E. WASHINGTON AVE. STE. 1300
                  Las Vegas, NV 89101

                  NICHOLAS FISCHELLA


                  US BANK
                  PO BOX 790408
                  Saint Louis, MO 63179

                  VIN SAUVAGE
                  712 SPICE ISLANDS DR.
                  Sparks, NV 89431
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                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for WONDER ALEWORKS LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




August 1, 2023                                   /s/ KEVIN A DARBY
Date                                             KEVIN A DARBY 7670
                                                 Signature of Attorney or Litigant
                                                 Counsel for WONDER ALEWORKS LLC
                                                 DARBY LAW PRACTICE
                                                 499 W. PLUMB LANE, SUITE 202
                                                 Reno, NV 89509
                                                 775.322.1237 Fax:775.996.7290
                                                 kevin@darbylawpractice.com
